           Case 4:16-cv-00378-CDL Document 7 Filed 01/16/17 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION

STANLEY MORGAN,

       PLAINTIFF,

-vs-                                                     CASE NO.: 4:16-CV-00378-CDL

VERIZON WIRELESS SERVICES, LLC,

       DEFENDANT.
                                                  /

                                     NOTICE OF SETTLEMENT

        Plaintiff, STANLEY MORGAN, by and through his undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, STANLEY MORGAN, and Defendant, VERIZON WIRELESS

SERVICES, INC., have reached a settlement with regard to this case, and are presently drafting, and

finalizing the settlement agreement, and general release documents. Upon execution of the same, the

parties will file the appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I hereby certify that on January 16, 2017, I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System: Michael P. Kohler, Esq., Miller & Martin, PLLC 1170

Peachtree Street N.E., Suite 800, Atlanta, GA 30309-7706 (michael.kohler@millermartin.com)

                                                      /s/Octavio Gomez, Esquire
                                                      Octavio “Tav” Gomez, Esquire
                                                      Georgia Bar #: 617963
                                                      Morgan & Morgan, Tampa, P.A.
                                                      201 North Franklin Street, 7th Floor
                                                      Tampa, FL 33602
                                                      Telephone: (813) 223-5505
                                                      Facsimile: (813) 223-5402
                                                      tgomez@forthepeople.com
                                                      amferrera@forthepeople.com
                                                      amoore2@forthepeople.com
                                                      Attorney for Plaintiff
